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              THE UNITED STATES BANKRUPTCY COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION


                                    )
                                    )
In re:                              )          Chapter 11
                                    )
GALLERIA 2425 OWNER, LLC,           )          Case No. 23-34815
                                    )
                        Debtor.     )
                                    )
            ________________________________________________

     EMERGENCY MOTION OF JETALL COMPANIES, INC. FOR STAY
 PENDING APPEAL OF ORDER GRANTING NBK’S MOTION TO ENFORCE
    SALE ORDER REQUIRING JETALL COMPANIES, INC. TO VACATE
                               PROPERTY
_________________________________________________

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU.

IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21
DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE
WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21
DAYS TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU
BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU
SHOULD FILE AN IMMEDIATE RESPONSE.

RELIEF IS REQUESTED NOT LATER THAN DECEMBER 13, 2024.
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To the Honorable Court:

       Comes now Jetall Companies, Inc., creditor and party-in-interest in this case, and

files this Emergency Motion for Stay Pending Appeal of the Order Granting Emergency

(Renewed) Motion to Enforce Sale Order Requiring Jetall Companies. Inc. to Vacate

Property (Exhibit 1 [Dkt. No. 871]) (“the Eviction Order”) and would respectfully show

as follows.

                               PRELIMINARY STATEMENT

       1.      On Friday, December 6, 2024, the Bankruptcy Court granted a motion

(Exhibit 2 [Dkt. No. 838]) (the “Eviction Motion”) by the National Bank of Kuwait,

S.A.K.P., New York Branch (“NBK” or the “Bank”) and its affiliate Houston 2425 Galleria,

LLC (“the Purchaser”), to evict Jetall from a commercial building located at One West

Loop Plaza, located at 2425 West Loop South in Houston Texas (the “Property”), where

Jetall has maintained offices for nearly 10 years. The Eviction Order requires that Jetall

leave the Property immediately and allows Appellees to seek assistance from law

enforcement if Jetall has not left the premises by this Friday, December 13, 2024.

       2.      But the Bankruptcy Court possessed neither jurisdiction nor statutory power

under the Bankruptcy Code to provide this relief. Neither the Bank nor the Purchaser is a

debtor in the underlying bankruptcy action. The Purchaser is a complete stranger to this

case. The Purchaser did not even exist before that proceeding began and has no connection

with the Debtor. Instead, the Purchaser was created by the Bank, the Debtor’s senior

creditor, to hold title to the Property after a foreclosure sale.



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       3.     Jetall is a stranger too. It has not appeared in this case, has not been served

with citation, has not been provided appropriate notice or an appropriate period to vacate,

and has not been provided any of the procedural protections that parties enjoy in forcible

entry and detainer actions under Texas law. Indeed, the Bank and the Purchaser obtained

their requested order evicting Jetall after Jetall entered bankruptcy itself, after a state-court

justice of the peace refused to evict Jetall, and before the notice period that the Purchaser

had given Jetall to vacate the Property had expired.

       4.     No bankruptcy court in the country has ever granted relief anywhere near this

broad—allowing one non-debtor to evict another from property that has been sold and is

therefore no longer part of the bankruptcy estate. Such matters lie beyond the jurisdiction

and statutory powers that Congress has given to the bankruptcy courts, reserved instead for

the exclusive jurisdiction of state courts. Jetall therefore respectfully requests a stay of the

Eviction Order in order to protect its right to challenge this unprecedented and improper

action, and to ensure that if it is successful on appeal, Jetall will be able able to obtain

effective relief. Jetall respectfully requests that such as stay issue on or before Friday,

December 13, 2024.

       5.     All of the factors for obtaining a stay pending appeal favor Jetall in this case.

Jetall respectfully submits that it has a substantial likelihood of success on the merits of its

appeal of the Eviction Order. This appeal raises serious questions of law—even beyond the

question of whether bankruptcy courts can grant one non-debtor’s request to evict another

non-debtor from property that does not belong to the debtor’s estate. These include: (1)

whether a non-debtor can obtain such relief after such relief was refused by a justice of the

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peace, the court with exclusive jurisdiction in Texas to hear forcible entry and detainer

actions; (2) whether the non-debtor Purchaser can do so when Jetall is subject to the

automatic stay in two different bankruptcies; (3) whether Purchaser can seek such relief

through counsel that has been disqualified from handling these issues; and (4) whether

Purchaser had any right to demand that Jetall leave the Property on December 4 when

Jetall’s lease had never been terminated (by any order of the Bankruptcy Court or

otherwise) and when Purchaser had previously given Jetall until at least December 18 to

vacate the building.

       6.     Jetall will suffer irreparable harm in the absence of a stay. The wrongful

eviction of a tenant from the leased property constitutes an irreparable injury as a matter of

law. And the compressed schedule for Jetall’s departure contemplated by the Eviction

Order—which demands that Jetall leave immediately or be expelled by force in as little as

five days—is impossible to satisfy. It would take weeks for Jetall to leave the Property,

even under the best of circumstances. And the circumstances here are not the best. The

Purchaser’s mismanagement of the Property has left it without a functioning elevator. And

taking all of Jetall’s personal property down eleven flights of stairs will make the move

take even longer. Trying to do it faster will inevitably and irreversibly damage numerous

irreplaceable antiques and unique pieces of art—a harm that cannot be undone through a

damages award. And working to vacate the property at an appropriate speed would subject

Jetall to potential sanctions from the Bankruptcy Court. This puts Jetall in an impossible

situation that can only be cured by a stay.



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       7.     By contrast to the extreme and irreparable harm that Jetall will face if it is

forced to vacate the Property on the Eviction Order’s schedule, other parties will suffer

little to no harm if a stay goes into effect. It is obvious that neither the Bank nor the

Purchaser is planning to immediately occupy the leased premises themselves, since they

have not even bothered to keep the elevator functioning. And any risk that the Purchaser

does face can be mitigated through an appropriate bond.

       8.     The public interest also supports a stay. The District Court should have the

chance to consider the serious appellate issues posed by this case without the exigency of

an immediate eviction hanging over its head. And it is important for the District Court to

have the chance to consider these issues and reverse the practice that the Bankruptcy Court

has endorsed. Allowing bankruptcy courts to evict one non-debtor at the request of another

from property that lies outside the bankruptcy is an abusive practice that will become the

norm if it is allowed to continue.

                                     BACKGROUND

       A.     Jetall’s lease of the Property survives the bankruptcy of its
              former owner.

       9.     Jetall has held a lease covering the entire Eleventh Floor of the Property since

2015. See Exhibit 3 [Lease, Dkt. No. 847-7]) But on December 5, 2023, the owner of the

property, Galleria 2425 Owner, LLC, went into bankruptcy. (See Exhibit 4 [Dkt. No. 1])

After the Bank succeeded in having the bankruptcy converted from a Chapter 11

reorganization to a Chapter 7 liquidation (See Eviction Motion at 1-2, and the Bankruptcy

Court confirmed the plan of dissolution that the Bank had proposed (See Exhibit 5 [Dkt.

No. 846-2] (the “Plan and Confirmation Order”), the Property was sold at foreclosure and
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obtained by the Purchaser, an affiliate of the Bank, the Debtor’s senior creditor. (See

Eviction Motion at 5). The Bankruptcy Court then approved the sale and ordered the

Property transferred to the Purchaser in its Order (A) Approving Asset Purchase Agreement

Between the Trustee and QB Loop Property LP; (B) Approving the Sale of the Property

Free and Clear of all Liens, Claims, Encumbrances, and Other Interests; (C) Approving

Assumption and Assignment of Executory Contracts and Leases; (D) Determining the

amounts necessary to cure such Executory Contracts, and Unexpired Leases; and (E)

Granting Related Relief. (Exhibit 6 [Dkt. No. 608] (the “Sale Order”))

       10.    The Sale Order was fully consummated. But while that consummation

involved conveying the Property to the Purchaser, neither the Sale order nor any other

order had any effect on Jetall’s lease on the Property. The Debtor neither assumed nor

rejected that lease, and while the lease was “deemed” rejected under the Plan (Exhibit 7

[Dkt. No. 566] at 2-3), that action merely put the Debtor in breach of the lease. It did not

destroy Jetall’s tenancy. In re Matter of Austin Development Co., 19 F.3d 1077, 1082 (5th

Cir. 1994) (holding, pursuant to 11 U.S.C. § 365(d)(4), that when a lease has been

“deemed” rejected, it does not mean “that the executory contract or lease has been

terminated, but only that a breach has been deemed to occur”); In re Continental Airlines,

981 F.2d 1450, 1459 (5th Cir.1993) (“[T]to assert that a contract effectively does not exist

as of the date of rejection is inconsistent with deeming the same contract breached”).

Accordingly, Jetall still had a valid lease on the Property even after the Plan had been

confirmed and the Property had been sold.



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       B.     A justice of the peace refuses to evict Jetall for insufficient
              notice, and the Purchaser gives Jetall until December 18 to
              vacate.

       11.    Yet the Purchaser immediately started trying to evict Jetall from the Property

anyway. It began by filing a forcible entry and detainer action before a justice of the peace

in state court. Houston 2425 Galleria, LLC v. Jetall Companies, Inc., Cause No.

241100353166 (Harris County Justice of the Peace, Precinct 1 Place 1) (See Exhibit 8

[Dkt. No. 848-2, Affidavit of Marc Hill]). But the justice court ruled that the Purchaser had

provided Jetall insufficient notice. (See Eviction Motion at 3 n.1 (citing Ex. 8 [Dkt. No.

848-2] & Ex. A).

       12.    The Purchaser hastily tried to correct the error and filed a new notice

purporting to give Jetall until “December 18, 2024 (30 days from the date of this notice)”

to “vacate” the Property. (Exhibit 9 [Dkt. No. 848-3] at 2).

       C.     The Purchaser then prematurely tries to evict Jetall in the
              Bankruptcy Court after Jetall became subject to the automatic
              stay in two different bankruptcies, and the Purchaser’s counsel
              is disqualified.

       13.    Yet the Purchaser proved too impatient to challenge the order of the justice

of the peace on appeal, or to bring a new forcible entry and detainer action after the

promised period to vacate had expired. Instead, on December 4, 2024, less than a week

after the Purchaser issued the notice to vacate—and long before the 30-day period to vacate

it promised had expired—the Bank and the Purchaser went to the Bankruptcy Court to

evict Jetall, thereby asking the Bankruptcy Court to adjudicate a matter that had already

been decided against it in the justice court. (See generally Eviction Motion).


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       14.     The Purchaser demanded that this Court evict Jetall despite the fact that its

counsel, Pillsbury Winthrop Straw Pittman, LLP, had been disqualified from

representation in any matter having to do with Jetall. In the forcible entry and detainer

action, the justice of the peace entered an order that disqualified the Purchaser’s counsel,

Jackson Walker, LLP, because that firm had represented Jetall in previous litigation and

thus had a “conflict of interest.” (See Exhibit 10 [Dkt. No. 848-4]). That disqualification

extended not only to Jackson Walker itself, but also expressly encompassed “its co-

counsel” Pillsbury Winthrop. (Id.) And that disqualification went beyond the “the present

case” pending before the justice court—the forcible entry and detainer—to include any

case involving a “party in this case or the matters and issues relating thereto.” (Id.) Jetall

was a party in that case. The Purchaser was also a party in that case. And the matters in this

action are identical to those in the forcible entry and detainer. Accordingly, Pillsbury

Winthrop’s continued representation of the Bank and the Purchaser in this action is in

direct, willful violation of the justice court’s order. 1

       15.     The Bank is also fully aware that its hasty action may be in violation of the

automatic stay in at least two bankruptcies. There is a separate bankruptcy proceeding that




       1
          The day before the hearing on the Purchaser’s motion to evict Jetall in the Bankruptcy
Court, the state justice court entered an order purporting to clarify that Pillsbury was not among
the counsel disqualified. (See Exhibit 12 [Dkt. No. 850-1]). But this order raised more questions
than it answered. The order was not signed by the judge but was purportedly signed with
permission. Id. It was never transmitted to counsel by the justice court. And it was issued more
than 30 days after the original order of disqualification and judgment in the eviction action. That
put it outside the time period to appeal the disqualification order and outside the court’s plenary
power, which expired 21 days after entry of judgment. See Tex. R. Civ. P. 507.1. Accordingly, this
order could not serve to remove Pillsbury Winthrop’s disqualification.

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concerns a different entity affiliated with Ali Choudhri (Jetall’s president), which is

pending in the United States Bankruptcy Court for the Western District of Texas, Austin

Division, Cause No.: 24-10120-smr, In re Texas REIT, LLC. In that case, Osama

Abdullatif, a litigant in an adversary proceeding pending in the Southern District that stems

from the Texas REIT bankruptcy, alleged that the debtor in that case is an “alter ego” of

Choudhri, and that all of Choudhri’s other entities are also alter egos of Choudhri and each

other—including “Jetall.” (Exhibit 11 [Dkt. No. 848-5] at 13-14, 15-16). Just days before

the Bank and the Purchaser filed their initial emergency motion in this case, Judge Marvin

Isgur determined that that the automatic stay protecting Texas REIT, LLC “probably

applies” to all of Choudhri’s affiliated entities. (Id. at 37-38)

       16.    But Judge Isgur ultimately “abstain[ed]” from answering that question,

referring the question instead to Judge Robinson, who is hearing the In re Texas REIT, LLC

bankruptcy, making him the most appropriate person to determine the scope of the

automatic stay in that action. (See Exhibit 13 [Dkt. No. 848-6] Order Remanding

Adversary Proceeding No. 24-03224 (Bankr. S.D. Tex.))

       17.    Furthermore, on December 4, 2024, the day before the emergency hearing

on Appellees’ motion to evict Jetall, Jetall itself became the subject of an Involuntary

Chapter 11 Bankruptcy Petition in the United States Bankruptcy Court for the Western

District of Texas, Austin Division, Cause No. 24-11544. (See Exhibit 14 [Dkt. 852 & 852-

1]).




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       D.     The Court orders Jetall to immediately vacate the Property.

       18.    Although Appellees were seeking to evict Jetall on a lease that had not been

terminated, before the period to vacate Purchaser had promised to provide was anywhere

close to expiring, through counsel that had been disqualified, and Jetall was subject to the

automatic stay in two bankruptcies, on Friday, December 6, 2024, the Bankruptcy Court

issued an “emergency” order demanding that Jetall “immediately vacate the Property and

… remove its personal property” from the premises. (Eviction Order, ¶3) The Bankruptcy

Court gave Jetall only “five (5) business days” to leave or the Bank would be empowered

to ask the Clerk to issue writs to the “United States Marshall” or to “present” the order to

“the Harris County Sheriff’s Office” to complete the eviction—including through “the use

of reasonable force.” (Eviction Order, ¶¶ 5-6).

       19.    And importantly, in its Memorandum Opinion accompanying the order, the

Bankruptcy Court made clear that this action was merely for the bank’s convenience, to

help “NBK to achieve one of its desired goals of evicting Jetall”—not because either the

Bank or the Purchaser actually had the right to evict Jetall from the property. (Exhibit 15

[Dkt. No. 870] at 3). The Bankruptcy Court made no finding that Jetall lacked a possessory

interest in the Property under a valid lease, nor did it provide any reason to excuse the

Purchaser’s failure to honor its promise to give Jetall until December 18 to leave the

premises. Instead, the Bankruptcy Court merely deemed the lease “terminated” and

declared that “[a]ll notices and stays under applicable state law are hereby deemed

satisfied.” (Eviction Order, ¶7).



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                                      ARGUMENT

I.     Standard for Stay Pending Appeal.

       20.    Bankruptcy Rule 8007 allows a bankruptcy court, in the first instance, to stay

a judgment in order to maintain the status quo pending appeal. Fed. R. Bank. Pr.

8007(a)(1)(A).

       21.    In determining whether to grant a discretionary stay pending appeal under

Bankruptcy Rule 8007, courts consider the following criteria:

       (1) the likelihood that the movant will prevail on the merits of the appeal;

       (2) whether the movant will suffer irreparable injury if the stay is denied;

       (3) whether other parties would suffer substantial harmed if the stay is granted; and

       (4) whether the public interest will be served by granting the stay.

 In re First S. Sav. Ass’n, 820 F.2d 700, 709 (5th Cir. 1987).

II.    Jetall has a substantial likelihood of succeeding on the merits.

       22.    With respect to the first element for obtaining a stay—the likelihood of

success on the merits of the appeal—the Fifth Circuit has explained that the movant need

not always show a “probability” of success on the merits but “need only present a

substantial case on the merits when a serious legal question is involved” and the “balance

of the equities weighs heavily in favor of granting the stay.” Arnold v. Garlock, Inc., 278

F.3d 426, 439 (5th Cir. 2001) (internal quotation omitted). And when the appeal turns on

“the application of law” that “has not been definitively addressed” by a higher court, the

movant … easily satisfies the first element. In re Texas Equipment Co. Inc., 283 B.R. 222,

226 (Bankr. N.D. Tex. 2002); In re Westwood Plaza Apartments Ltd., 150 B.R. 163, 168

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(Bankr. E.D. Tex. 1993); see also First S. Sav. Assoc., 820 F.2d at 704 (“[T]he movant

need only present a substantial case on the merits when a serious legal question is

involved”). That threshold showing is met in this case because Jetall’s appeal presents

numerous serious legal issues that have never been resolved before.

         A.    The Court lacks jurisdiction over this action and over Jetall.

         23.   To begin with, this case raises a vitally important question of the scope of

bankruptcy jurisdiction, because there are a variety of reasons that the Bankruptcy Court

lacked the substantive power to evict Jetall. The Bankruptcy Court did not have jurisdiction

over either the parties to, or the subject matter of, any such eviction action. Jetall is not a

debtor in this case. It has not been served with any summons or citation. It was not before

the Bankruptcy Court. And it made no appearance in this case beyond filing a proof of

claim.

         24.   A party must be “properly served” in order to be subjected to eviction.

Coleman v. Williams, 538 Fed. App’x 513. 514 (5th Cir. 2013). While the Bankruptcy

Court found that “Jetall has subjected itself to jurisdiction” because it had filed “two”

“proofs of claim” in the subject bankruptcy case (Memorandum Opinion at 3), it is settled

that merely filing a proof of claim in a bankruptcy case does not subject a creditor to the

bankruptcy court’s personal jurisdiction for all purposes. “[B]y submitting a claim against

the bankruptcy estate,” parties subject themselves only to the bankruptcy court’s “equitable

power to [allow or] disallow [that] claim[].” Granfinanciera, S.A. v. Nordberg, 492 U.S.

33, 59 n.14 (1989) (emphasis added) (citing Katchen v. Landy, 382 U.S. 323, 335 (1966).

They do not subject themselves to the bankruptcy court’s power for matters beyond

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adjudicating that claim. Accordingly, Jetall did not submit itself to the Court’s personal

jurisdiction for any eviction action separate and apart from the main bankruptcy action in

which its claim was adjudicated. The Bankruptcy Court therefore lacked power to compel

Jetall to leave the property.

       25.    The Bankruptcy Court also did not have any jurisdiction over the subject

matter of this case under 28 U.S.C. § 1334. This is an action by one non-bankrupt party

seeking to evict another non-bankrupt party from a building that—as the result of a

foreclosure sale by which the Purchaser has now obtained the Property—is no longer

property of the bankruptcy estate. “[B]ankruptcy court jurisdiction covers only property in

which the debtor has an interest,” and no such interest remains after the debtor loses the

property “in a foreclosure sale.” Coleman, 538 Fed. App’x at 514. An eviction therefore

will have no effect on the bankruptcy estate. And that means the Court has no jurisdiction

to enter any such eviction.

       26.    The Bankruptcy Court concluded otherwise, claiming that its jurisdiction to

evict Jetall arose out of its authority to “enforce[]” the “Sale Order.” (See Memorandum

Opinion at 3). But the present action has absolutely no connection to the Sale Order. While

that order conveys the Property—the physical building that was purchased in the

foreclosure sale—to the Purchaser, it does not purport to transfer any leasehold interests.

The only provision in the Sale Order that purports to transfer any property to anyone is one

stating that “all persons that are in possession of some or all of the Purchased Assets” turn

over those assets to the Purchaser. (Sale Order, p. 26 ¶ 34). But that provision has nothing

to do with Jetall’s lease—because its lease is not one of the “Purchased Assets.”

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       27.    Furthermore, even if the Sale Order purports to convey the Property “free

and clear of all interests, including all liens, claims and encumbrances” (Sale Order p. 7 ¶

N, p. 13 ¶ 5), that provision did not actually effectuate a transfer of possession. That is why

an eviction was necessary. The Fifth Circuit held in In re Royal Street Bistro, L.L.C., 26

F.4th 326, 327 (5th Cir. 2022) that even a sale in bankruptcy “free and clear of all claims,

liens, and interests” under 11 U.S.C. § 363(f) does not actually destroy leasehold interests or

transfer them to the purchaser. Rather, “the lessee has the right to remain in the property

through its term ‘to the extent that such rights are enforceable under applicable

nonbankruptcy law.’” Id. at 328 (quoting 11 U.S.C. § 365(h)(1)(A)(ii)). The Purchaser has

not demonstrated any reason why Jetall might be evicted under nonbankruptcy law.

Accordingly, even “sales free and clear” do not “override” or “render nugatory” the “critical

lessee protections” available under the Code. Id. at 328.

       28.    Finally, the Sale Order prohibits interference “with Buyer’s use and enjoyment

of the Purchased Assets.” (Sale Order p. 28 ¶ 36) But that provision had no effect on Jetall’s

lease because a tenant with a valid lease does not impose any such interference with an

owner’s enjoyment and use of property. That occurs only when a person trespasses on

property or commits a nuisance. Wavering v. City of Mansfield, 505 S.W.3d 33, 49 (Tex.

App. 2016) (holding that a “trespass invades the possession of a person’s land, or destroys

the use and enjoyment of the land”); Barnes v. Mathis, 353 S.W.3d 760, 763 (Tex. 2011).

(“A nuisance is a condition that substantially interferes with the use and enjoyment of land

by causing unreasonable discomfort or annoyance to persons of ordinary sensibilities.”). A

person holding a valid lease is not a trespasser. Accordingly, nothing in this passage is

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inconsistent with (and certainly does not override) Jetall’s valid lease.

       29.    Indeed, the only property transfer that the Sale Order effectuates is one from

the bankruptcy estate to the Purchaser—with no transfer of property from Jetall to the

Bank. And in that sense, the Sale Order strips this Court of jurisdiction rather than conveys

it. By transferring the Property out of the bankruptcy estate, the Sale Order ensured that

nothing that happens to the Property will have any effect on the estate. And that means the

Sale Order cannot provide the jurisdictional link that is otherwise missing in this case.

       B.     The Bankruptcy Court lacks any substantive power to evict
              Jetall.

       30.    The Bankruptcy Court also lacked substantive power to evict Jetall for

several reasons.

              1.      The Bankruptcy Code does not convey power to bankruptcy
                      courts to evict one non-debtor for another non-debtor’s benefit.

       31.    First, nothing in the Code empowers a bankruptcy court to conduct an

eviction of one non-bankrupt party for the benefit of another non-bankrupt party.

Foreclosure and eviction are matters “governed by state, not federal, law.” Hoffhine v.

Turturo, No. 5:20-CV-713-JKP-RBF, 2021 WL 2878560, at *1 (W.D. Tex. Feb. 22, 2021),

report and recommendation adopted, 2021 WL 2878557 (W.D. Tex. Mar. 11, 2021). And

as the Bankruptcy Court acknowledged, the justice courts have “exclusive jurisdiction for

forcible entry and detainer actions, i.e. an eviction.” (Memorandum Opinion at 3).

       32.    Neither the Bankruptcy Court nor the Movants ever identified any

substantive provision in the Code that would allow the Bankruptcy Court to provide such

relief. The sole substantive bankruptcy power that the Movants invoked was section 105(a)

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of the Code, and the Court’s power to “enforce its own orders.” (Eviction Motion at 6). But

the Movants conceded that this power is limited to “effectuat[ing] the requirements of the

Sale Order”—not expanding upon them. (Id. at 7) (emphasis added). But as explained

above, the Sale Order does not order any transfer of possession from Jetall to the Purchaser,

so the Bankruptcy Court cannot “effectuate” the Sale Order by making a separate order

initiating that transfer. Neither the Bankruptcy Court nor the Movants cited any authority

to the contrary.

       33.    Instead, in the Eviction Motion, Movants cited a series of cases that all

involved bankrupt parties—and did so according to orders that actually did demand

changes in possession. Most of these cases, like In re Searles, 70 B.R. 266 (D.R.I. 1987)

were consent orders, by which the bankrupt debtor had agreed that it would turn over the

property to a creditor if certain conditions were not met. See also Ragsdale v. Michas (In

re Five Star Design & Builders, LLC), Adv. Proc. 05-06626 (Bankr. N.D. Ga. 2006); In re

M.A.S. 284 Parking Corp., 201 F.3d 431 (2d Cir. 1999); In re Stephens, No. ADV 04-3468

DDO, 2012 WL 1899716, at *7 (D. Minn. May 24, 2012), aff’d (Apr. 2, 2013). These

previous orders gave the Bankruptcy Court power to effectuate the promised transfer when

those conditions were not satisfied.

       34.    The remaining cases cited by Movants may have actually involved sale

orders, but these orders gave the bankruptcy court the power to effectuate a transfer of

possession only because the sale order itself demanded a change in possession—requiring

that the debtor give up the property. None of these cases suggest that bankruptcy courts

possess authority under Section 105 to enter transfer orders that had not been previously

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demanded. And indeed, none of these cases suggest that parties can seek evictions in

bankruptcy court after they have been denied an eviction in state court. Accordingly, there

is no case that comes close to authorizing the relief that the Movants sought in this case,

making the Bankruptcy Court’s decision to grant such relief entirely unprecedented.

              2.     The Bankruptcy Court was prohibited under the Rooker
                     Feldman doctrine from evicting Jetall.

       35.    The eviction that Movants sought, and the Bankruptcy Court provided, is

also prohibited by the Rooker-Feldman doctrine. The Rooker-Feldman doctrine applies to

“cases brought by state-court losers complaining of injuries caused by state-court

judgments rendered before the district court proceedings commenced and inviting district

court review and rejection of those judgments.” Exxon Mobil Corp. v. Saudi Basic Indus.,

544 U.S. 280, 284 (2005). Pursuant to that doctrine, “federal district courts lack jurisdiction

to review state-court judgments by means of a state-court loser’s collateral attack”—and

bankruptcy courts do too. United States v. Shepherd, 23 F.3d 923, 924 (5th Cir. 1994).

       36.    The Purchaser is precisely the sort of “state court loser[]” shopping for a new

federal forum that the Rooker-Feldman doctrine was meant to address. Exxon Mobil Corp.,

544 U.S. at 284. And the action to evict Jetall is unquestionably a “collateral attack” on the

justice court’s judgment that the doctrine was meant to prohibit. Shepherd, 23 F.3d at 924.

       37.    The justice court determined that it lacked jurisdiction to evict Jetall because

the Purchaser had not provided proper notice—because Jetall’s lease required 30-days’

notice, and the Purchaser failed to provide it. The Eviction Order overturns that decision

by evicting Jetall before the notice period required by the justice court was satisfied, and it


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did so by “deem[ing]” all applicable notice provisions “satisfied or waived” when the

justice court held that they were not. (Eviction Order ¶7). Indeed, the Movants ultimately

confirmed that they were seeking to collaterally attack the judgment of the justice of the

peace by conceding that the action they sought was “consistent” with a forcible entry and

detainer—thereby admitting that the relief they sought in the Bankruptcy Court was

precisely the relief they previously sought in the justice court—relief that the justice court

expressly denied. (Eviction Motion 9).

       38.    Indeed, the Eviction Order goes even further than ordering relief “consistent”

with a forcible entry and detainer. In a forcible entry and detainer, the defendant is entitled

to service of summons and an opportunity to develop evidence. And in a forcible entry and

detainer, the plaintiff must prove that it has “superior right of immediate possession of real

property” and that the defendant received “proper notice.” Shields L.P. v. Bradberry, 526

S.W.3d 471, 478 (Tex. 2017). But the Purchaser never served Jetall a summons nor

afforded it an opportunity for discovery. And it sought to force the Bankruptcy Court to act

before the notice period that the justice court demanded had been satisfied—and without

demonstrating that Jetall’s lease ever terminated.

       39.    Accordingly, the Purchaser is estopped by Rooker-Feldman from raising

these claims, as a state court loser who never appealed the decision of the justice court to

the state district court, from collaterally attacking the judgment in federal court. The Bank

has no standing to evict Jetall because it is not the owner of the Property. And the

Bankruptcy Court was jurisdictionally prohibited under Rooker-Feldman from entering the

relief that both of these movants sought.

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       40.    Numerous courts have rejected exactly this type of effort to side-step state

court rulings in forcible entry and detainer actions by forum-shopping in federal court. See

Coleman v. Williams, 538 F. App’x at 515 (holding that debtor’s due process claim against

law enforcement officers, challenging her eviction following foreclosure sale of her former

house, was impermissible challenge to state court’s judgment); Wells v. Ali, 304 F. App’x

292, 294 (5th Cir. 2008) (affirming dismissal of lawsuit seeking to relitigate eviction-

related claims in federal court under Rooker-Feldman doctrine); Wilkerson v. Hoff, No.

3:21-CV-00136-KC, 2021 WL 3186125, at *4 (W.D. Tex. July 28, 2021) (same);

DeVilbiss v. Jackson, No. SA-20-CV-00878-OLG-EBC, 2020 WL 5249246, at *3 (W.D.

Tex. Sept. 3, 2020) (same), report and recommendation adopted, 2020 WL 10054537

(W.D. Tex. Oct. 29, 2020).

       41.    The Bankruptcy Court concluded it could ignore the judgment of the justice

of the peace because that court dismissed for “lack of jurisdiction,” and it dismissed the

justice court itself as a mere “lower-level State Court” “unknowledgeable about the

intricacies of bankruptcy law.” (Memorandum Opinion at 3). But the justice court made

clear that it dismissed the forcible detainer case for lack of notice—and that decision cannot

be ignored merely because it was made in the guise of a jurisdictional ruling, or by

pejoratively labelling state justice courts “lower-level” courts, “unknowledgeable” about

the intricacies of bankruptcy law. Rooker-Feldman exists precisely to prohibit federal

courts from ignoring state-court determinations, including determinations of substantive

federal law. “The only federal recourse” even “for constitutional questions arising in state

court proceedings is application for writ of certiorari to the United States Supreme Court.”

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Liedtke v. State Bar of Tex., 18 F.3d 315, 317 (5th Cir. 1994). And for all these reasons,

the Rooker-Feldman doctrine prohibits the relief that the Bank seeks in this case.

              3.     The Eviction Action also violates the Anti-Injunction Act.

       42.    For similar reasons, the Eviction Order violates the Anti-Injunction Act, 28

U.S.C. § 2283. That Act prohibits courts from issuing injunctive relief that would prohibit

one party from enforcing its rights under a “valid extant judgment of a Texas court.” Knoles

v. Wells Fargo Bank, N.A., 513 Fed. App’x 414 (5th Cir. Feb. 19, 2024) (citing Parsons

Steel, Inc. v. First Ala. Bank, 474 U.S. 518, 522-25 (1986). And that is exactly what the

Bankruptcy Court did by giving in to the Movants’ demand to enter an order evicting Jetall

after the justice court had entered judgment allowing it to remain in possession.

              4.     Evicting Jetall would also violate the automatic stay in the Texas
                     REIT and Jetall bankruptcies.

       43.    Evicting Jetall also violates the automatic stay in two separate bankruptcies.

The first, of course, is the involuntary bankruptcy of Jetall itself, which was filed in the

Western District of Texas, Austin Division. In the Memorandum Opinion, the Bankruptcy

Court declared its intention to have that case transferred into its court and to “retroactively

lift the automatic stay for cause.” (Memorandum Opinion at 3). On Friday, December 4,

2024, just two days after Jetall’s bankruptcy was filed, Judge Bradley of the United States

Bankruptcy Court for the Western District of Texas transferred the case to the Southern

District, ostensibly “in the interest of justice”—without identifying any reason why justice

required the transfer. (See Exhibit 16 (Case No. 24-11544-cgb [Dkt. No. 2]). Once

transferred to the Southern District, the Bankruptcy Court retroactively lifted the stay

without a hearing, and without demonstrating good cause for lifting the stay. (See Exhibit
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17 [Dkt. No. 4 in Case No. 24-35761). Jetall respectfully submits that these orders violated

Due Process, they should be reversed in Due Course, and they should not serve to authorize

the Bankruptcy Court’s unlawful eviction of Jetall.

       44.    Evicting Jetall also violated the automatic stay in the Texas REIT

bankruptcy. Judge Isgur determined that that the automatic stay protecting Texas REIT

“probably applies” to all of Choudhri’s affiliated entities—including Jetall, although it left

final determination of that issue for Judge Robinson. See Ex. 4. And Judge Isgur’s instincts

are entirely correct. Generally, the automatic stay does not extend to protect non-debtor

parties. Beutel v. Dallas County Flood Control Dist., 916 S.W.2d 685, 692 (Tex. App.

1996); HBA East, Ltd. v. JEA Boxing Co., 796 S.W.2d 534, 536 (Tex. App. 1990).

       45.    But raising the allegation that one company is an alter ego of another does

trigger the automatic stay under 11 U.S.C. § 365(a)(3) when one of those entities is a debtor

in bankruptcy. The doctrine of alter ego “is one distinct method of piercing the corporate

veil.” In re S.I. Acquisition, Inc., 817 F.2d 1142 (5th Cir. 1987) (citing Castleberry v.

Branscum, 721 S.W.2d 270, 272 (Tex. 1986)). Alter ego applies when “there is such unity

between corporation and individual” (or such unity between one corporation and another)

“that the separate identity of the corporation has ceased, and holding only the corporation

liable would result in injustice.” Riquelme Valdes v. Leisure Resource Group, Inc., 810

F.2d 1345 (5th Cir. 1987) (quoting Castleberry, 721 S.W.2d at 272). As a consequence of

the doctrine’s application, the “assets and liabilities” of one entity become the “assets and

liabilities” of the other. State v. DeSantino, 899 S.W.2d 787, 790 (Tex. App. 1995).



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       46.     Accordingly, where, as here, numerous entities and individuals are alleged

to be alter egos of a bankrupt debtor, that makes the assets and liabilities of the alter egos

the assets and liabilities of the estate. See Pisculli v. T.S. Haulers, Inc., 426 B.R. 52, 60

(E.D.N.Y. 2010) (“[A] court may pierce the corporate veil of a business and treat its assets

as the debtor’s individual property, and, thus, property of the debtor’s estate[] under an

alter ego theory.”).

       47.     That means any claim to recover from one of the alter egos is subject to the

automatic stay. After all, the automatic stay prohibits not only claims against the debtor

itself under section 362(a)(1), but also prohibits any “act” to “obtain possession of property

of the estate” under section 362(a)(3). For that reason, numerous cases have held that a

non-frivolous allegation of alter ego makes the alleged alter egos subject to the automatic

stay. See, e.g., In re Adler, 494 B.R. 43, 53 (Bankr. E.D.N.Y. 2013) (holding that claims

against alleged alter egos were subject to the automatic stay because the debtor and its alter

egos “were at all relevant times one and the same entity”); Sky Cable, LLC v. DIRECTV,

Inc., 23 F.4th 313 (4th Cir. 2022) (noting that bankruptcy court had denied a motion for

post-judgment attorneys’ fees against debtor “and his alter egos because such an award was

precluded by the bankruptcy court's automatic stay”). 2 The Bankruptcy Court should have



       2
        Indeed, the only cases that have held that alter egos were not subject to the automatic stay
analyzed only whether the alter egos were actually “the debtor” under section 362(a)(1), rather
than considering whether claims against the alter egos fell under section 362(a)(3) because they
sought “property of the estate.” See, e.g., In re Meyerland Co., 82 B.R. 831 (Bankr. S.D. Tex.
1988); Pavers & Road Builders Dist. Council Welfare Fund v Core Contracting of N.Y., LLC, 536
BR 48, 51 (Bankr. E.D.N.Y. 2015). The analysis of these cases is incomplete and therefore
unpersuasive.

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followed these other courts’ lead and held that all claims against all individuals and entities

that are alleged to be alter egos of Ali Choudhri—including Jetall—are subject to the

automatic stay.

       48.    But the Bankruptcy Court refused to hold that the stay applied “[a]bsent an

order extending the stay in the Texas REIT, LLC [bankruptcy] to this case,” even though

no such motion is required to trigger operation of the automatic stay—which is why it is

called “automatic.” (Memorandum Opinion 3). The Bankruptcy Court’s impulsive decision

to order that Jetall be evicted from the Property before Judge Robinson can determine the

extent of the protection provided by the automatic stay in the Texas REIT bankruptcy now

risks rendering the Eviction Order a nullity—because any such order would be a violation

of the automatic stay and could be void. See Howell v. Thompson, 839 S.W.2d 92, 92 (Tex.

1992); Continental Casing Corp. v. Samedan Oil Corp., 751 S.W.2d 499, 501 (Tex. 1988)

(per curiam) (citing Kalb v. Feuerstein, 308 U.S. 433, 439 (1940)). And that is yet another

reason why a stay must issue.

       C.     The Movants were prohibited from bringing this eviction
              action because their counsel is disqualified.

        49.   The Movants were also prohibited from bringing any action to evict Jetall

because their counsel Pillsbury Winthrop has been disqualified by the justice court from

handling any case involving Jetall. See Ex. 10. The Bankruptcy Court ignored the justice

court’s order, deeming Jetall’s request to disqualify Pillsbury Winthrop on the basis of this

order to be waived because the parties had not filed a separate motion to disqualify

Pillsbury Winthrop in the Bankruptcy Court. (Memorandum Opinion at 3). But the justice


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court’s disqualification was automatic—requiring no further order. And the Bankruptcy

Court was required to give the same respect to the justice of the peace’s order as a “state

district court” would “in a later suit” concerning the property. See Knoles v. Wells Fargo

Bank, N.A., 513 Fed. App’x 414, 416 (5th Cir. 2013). The Bankruptcy Court was therefore

barred under the Rooker-Feldman doctrine from entering a ruling that differs from the

disqualification ruling of the justice court. Accordingly, the Bankruptcy Court was bound

under Rooker-Feldman to honor the justice court’s disqualification, not disregard it.

       D.     The Purchaser has not satisfied the requirements to evict Jetall.

       50.    Finally, the Eviction Order should not have issued because the Purchaser—

the only party that might have standing to evict Jetall in any forum—never satisfied the

very requirements it admitted being necessary to conduct an eviction under applicable state

law. In claiming that the action it seeks is “consistent” with Texas forcible entry and

detainer law, the Purchaser has bound itself to follow the requirements of Texas forcible

entry and detainer law. (Eviction Motion at 11). One of those requirements is that the

plaintiff must establish a “superior right to immediate possession,” Shields L.P. v.

Bradberry, 526 S.W.3d 471, 478 (Tex. 2017), and another is that the “period of time to

vacate” must have “expired.” (Eviction Motion at 12). In this case, the proper notice period

has not expired—because the justice court held that Jetall must be entitled to 30 days’

notice, and the Purchaser claimed to have provided 30-days’ notice. But that notice period

has not expired before the Eviction Order issued—and the Bankruptcy Court could not

merely elide the requirement of notice by “deeming” it to be satisfied in spite of the

undisputed evidence to the contrary.

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       51.    The Bankruptcy Court also erred in holding that Jetall lacked the superior

right to possession of the property because its lease “terminated.” (Eviction Order ¶7). On

the contrary, that lease has remained in force throughout the entire bankruptcy proceeding.

The Debtor neither assumed nor rejected that lease, and it was merely “deemed” rejected

under the Plan (Plan and Confirmation Order at 2-3) Pursuant to 11 U.S.C. § 365(d)(4), the

fact that a lease has been “deemed” rejected does not mean “that the executory contract or

lease has been terminated, but only that a breach has been deemed to occur.” In re Matter

of Austin Development Co., 19 F.3d 1077, 1082 (5th Cir. 1994); In re Continental Airlines,

981 F.2d 1450, 1459 (5th Cir. 1993) (“[T]o assert that a contract effectively does not exist

as of the date of rejection is inconsistent with deeming the same contract breached”). Thus,

far from granting the Purchaser the power to evict Jetall, the fact that Jetall’s lease was

deemed rejected placed the Debtor in breach. The Sale Order likewise had no effect on the

lease—as explained in more detail above. That means there were never any grounds to

evict Jetall. And the Bankruptcy Court’s failure to recognize that problem is yet another

reason that Jetall has a substantial likelihood of having the Eviction Order overturned on

appeal.

III.   Jetall will suffer irreparable injury in the absence of a stay.

       52.    There is also no legitimate question that Jetall will suffer irreparable harm if

the order remains in effect pending appeal. The Bankruptcy Court’s order demanding that

Jetall vacate a property it has the right to possess is very clearly wrongful. And wrongful

eviction is an irreparable injury as a matter of law. See, e.g., Johnson v. United States

Department of Agriculture, 734 F.2d 774, 789 (11th Cir. 1984) (Wrongful eviction, as a

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matter of law, constitutes irreparable injury); Brown v. Artery Organization, Inc., 691 F.

Supp. 1459 (D.D.C. 1987) (same).

         53.   The impossible schedule that the Bankruptcy Court has provided for Jetall to

vacate the Property will cause Jetall further irreparable. The Eviction Order gives Jetall

only five days to depart a property it has occupied for years before it might be evicted by

force.

         54.   That is simply not enough time for Jetall to depart the Property—especially

given the state of disrepair in which the Purchaser has left it. Jetall occupies the Property’s

entire Eleventh Floor, which Jetall has filled with “heavy furnishings, valuable art, and

antiquities.” (See Exhibit 18 [Declaration of Dward Darjean, ¶4, 5). Eviction on the

Bankruptcy Court’s accelerated 5-day timetable—which is still well short of the period that

the Purchaser gave Jetall to leave the Property—is therefore essentially impossible. (Id.,

¶6). According to an estimate provided to Jetall by a company called Smooth Moves Texas,

it would take “approximately fourteen to twenty-one days to complete” the move under

ideal circumstances—and that would require functioning elevators. Id. But at present, none

of the Property’s elevators are functioning. (Id., ¶5) That will make any move take even

longer.

         55.   Should Jetall be forced to evict, or be dispossessed of the leased premises

under the threat of force by the US Marshals or the Harris County Sheriff, Jetall’s property

will invariably be destroyed, and Jetall could be subject to sanctions for disobeying a court

order due to circumstances that are completely beyond its control. This is yet another

reason a stay should issue.

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IV.    Other parties will not suffer substantial harm if the stay is not granted.

       56.    The balance of harms between the parties likewise favors a stay. While Jetall

will be forced into an impossible situation if no stay issues, there is no evidence that the

Purchaser will suffer any harm at all if a stay is put in place for the limited duration of an

appeal. The Purchaser very clearly has no interest in renting the space to a tenant or using

it for itself: A property without a functioning elevator is very clearly unusable for

habitation—and any potential occupant in the space would have as hard a time coming into

the space as Jetall would have trying to leave it. So Jetall is unlikely to suffer any lost rent

for the limited time necessary for an appeal.

       57.    The Purchaser likewise will not suffer any irreparable injury from being

unable to sell the property to someone else. Indeed, the Purchaser claims to have found a

willing buyer even with Jetall in the building. But it has offered no evidence to suggest that

this buyer actually exists, or that buyer is willing to buy this commercial office space only

on the condition that all one of its most important tenants have been kicked out. So the

balance of private interests very clearly favors a stay.

V.     The public interest favors a stay.

       58.    The public interest likewise favors a stay. The Bankruptcy Court’s action in

this case sets a dangerous precedent. It creates the prospect that bankruptcy courts can and

should operate as eviction factories by which one non-debtor can evict another at will—

even when the evicted party possesses a valid lease. That is plainly an abuse of the

bankruptcy system, which was designed to provide a “fresh start” for the “honest but



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unfortunate debtor,” Grogan v. Garner, 498 U.S. 279, 286, 287 (1991), not offer a means

for real-estate developers to clear a property of unwanted tenants just because it suits them.

       59.    If the Eviction Order stands, it will be used by other bankruptcy courts to

evict tenants outside the protections of the forcible entry and detainer procedure in Texas—

which is carefully balanced to protect the legitimate interests of landlords and tenants—

and the watchful eye of the justice of the peace with exclusive jurisdiction to hear those

claims, Accordingly, the abuse endured by Jetall in this case will spawn further abuses for

other innocent tenants.

       60.    The Supreme Court recently was forced to intervene in a similar case where

non debtors attempted to use the bankruptcy system to abuse other non-debtors. See

Harrington v. Purdue Pharma L.P., 144 S. Ct. 2071 (2024). At issue in Harrington was

the practice of including so-called “nonconsensual third-party releases” in bankruptcy

reorganization plans—provisions in which certain non-debtors were forced to give up their

legal claims against other non-debtors. The Court declared that practice completely

unlawful, unauthorized, and abusive. And that abuse of the bankruptcy system is no less

serious than this one. The District Court should have the opportunity to rule on its

permissibility without having the cloud of an emergent eviction hanging over its head,

Accordingly, all of the factors plainly favor a stay. And no factors militate against one.

Jetall’s request for a stay should therefore be granted.

                     SECURITY FOR STAY PENDING APPEAL

       The Court may, but need not, condition a stay pending appeal on a bond or other

security being posted. And that bond should be limited to the fair market value of the rent

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that the Purchaser would reasonably receive from the leased portion of the Property during

the pendency of the appeal.

                                       CONCLUSION

       For these reasons, Jetall Companies, Inc. hereby respectfully requests that the Order

Granting Emergency (Renewed) Motion to Enforce Sale Order Requiring Jetall

Companies. Inc. to Vacate Property (Dkt. No.871) be stayed pending appeal. See, e.g.,

Tex. Prop. Code § 24.053 (requiring a tenant evicted for nonpayment of rent to post a bond

for the estimated rent during the duration of the appeal).




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                                 Respectfully submitted,

                                 /s/ J. Carl Cecere

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                            CERTIFICATE OF SERVICE

       The undersigned certifies that on December 9, 2024, a true and correct copy
of the foregoing was served via the Court’s CM/ECF system to all parties who are
deemed to have consented to ECF electronic service, and via email to those listed
below.

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                                            /s/ J. Carl Cecere

                                            J. Carl Cecere




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